IS 44 Rev. 09/11) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM, )

I. (a) PLAINTIFFS DEFENDANTS

CHELSEA KELLY, as Personal Representative of the ESTATE OF TASER International, Inc., et al.
DELANO SMITH

(b) County of Residence of First Listed Plaintiff St. Joseph County of Residence of First Listed Defendant Elkhart (City of Elkhart)

 

 

 

 

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attomeys (Firm Name, Address, and Tele, He Jumber, Attomeys (J Known) *
Douglas E. Sakaguchi, PFEIFER, M GAN & STESIAK Damon R. Leichty & John R. Maley, BARNES & THORNBURG LLP
53600 North Ironwood Drive 100 North Michigan, Suite 600
South Bend, IN 46635 (574) 272-2870 South Bend, IN 46601 (574) 233-1171
IW. BASIS OF JURISDICTION = (Place an “X” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X” in One Box for Plaintiff)
. (For Diversity Cases:Only) and One Box for Defendant)
O 1 US. Government A 3 Federal Question & PTF DEF PTF DEF
Plaintiff (U.S. Government Nat a Party) Citizen of This State ql © 1 Incorporated or Principal Place o4 04
of Business In This State
{} 2 U.S. Government O14 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 05
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O 3 © 3. Foreign Nation o6 086
Foreign Country

 

 

 

 

IV. NATURE OF SUIT ae an “X" in One Box Only)

 

 

 

 

 

 

 

 

 

 

 

 

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0 110 Insurance PERSONAL INJURY PERSONAL INJURY .]0© 625 Drug Related Seizure CO) 422 Appeal 28 USC 158 O 375 False Claims Act
0 120 Marine C310 Airplane 0 365 Personal Injury - of Property 21 USC 881 {0 423 Withdrawal © 400 State Reapportionment
130 Miller Act C} 315 Airplane Product Product Liability © 690 Other 28 USC 157 © 410 Antitrust
© 140 Negotiable Instrument Liability 367 Health Care/ O 430 Banks and Banking
(J 150 Recovery of Overpayment [CJ 320 Assault, Libel & Pharmaceutical i PROPERTY. RIGHTS 0 450 Commerce
& Enforcement of Judgment Slander Personal Injury ( 820 Copyrights GO 460 Deportation
151 Medicare Act ©) 330 Federal Employers’ Product Liability © 830 Patent CO 470 Racketeer Influenced and
© 152 Recovery of Defaulted Liability 368 Asbestos Personal O 840 Trademark Corrupt Organizations
Student Loans © 340 Marine Injury Product 480 Consumer Credit
(Excl. Veterans) © 345 Marine Product Liability oes PABOR = : “SOCIAL SECURITY (} 490 Cable/Sat TV
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY a 710 Fair Labor Standards 1 861 HIA (1395ff) © 850 Securities/Commodities/
of Veteran’s Benefits ©] 350 Motor Vehicle © 370 Other Fraud Act O 862 Black Lung (923) Exchange
© 160 Stockholders’ Suits 0 355 Motor Vehicle © 371 Truth in Lending © 720 Labor/Mgmt. Relations 0 863 DIWC/DIWW (405(g)) |G 890 Other Statutory Actions
©} 190 Other Contract Product Liability €) 380 Other Personal 0) 740 Railway Labor Act O 864 SSID Title XVI O 891 Agricultural Acts
G 195 Contract Product Liability |(J 360 Other Personal Property Damage O 751 Family and Medical GO 865 RSI (405(g)) QO 893 Environmental Matters
© 196 Franchise Injury 385 Property Damage Leave Act OG 895 Freedom of Information
© 362 Personal Injury - Product Liability 0 790 Other Labor Litigation Act
Med. Malpractice 791 Empl. Ret. Inc. © 896 Arbitration
[eee REAL PROPERTY 28° CIVIL RIGHTS: 7 | PRISONER PETITIONS Security Act “FEDERAL TAX SUITS © 899 Administrative Procedure
O 210 Land Condemnation © 440 Other Civil Rights 510 Motions to Vacate © 870 Taxes (U.S. Plaintiff Act/Review or Appeal of
O 220 Foreclosure CO 441 Voting Sentence or Defendant) Agency Decision
© 230 Rent Lease & Ejectment C 442 Employment Habeas Corpus: OF 871 IRS-Third Party O 950 Constitutionality of
© 240 Torts to Land 0 443 Housing/ © 530 General 26 USC 7609 State Statutes
f@ 245 Tort Product Liability Accommodations 1 535 Death Penalty SS IMMIGRATION .<«
C) 290 All Other Real Property © 445 Amer. w/Disabilities- | 540 Mandamus & Other |( 462 Naturalization Application
Employment O 550 Civil Rights 0 463 Habeas Corpus -
0 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee
Other 0 560 Civil Detainee - (Prisoner Petition)
448 Education Conditions of C 465 Other Immigration
Confinement Actions

 

 

 

 

 

 

V. ORIGIN (Place an “X” in One Box Only)

O1 Original (4 2 Removed from O 3  Remanded from O 4 Reinstatedor O 5 Transferred from 6 Multidistrict
Proceeding State Court Appellate Court Reopened (specif) Litigation

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 U.S.C. §§1981, 1983
Brief description of cause:
Alleged constitutional violations and product liability.
Vil. REQUESTED IN fl CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: Yes ONo

VII. RELATED CASE(S)

IF ANY (See mstructions): ying Lo aD DOCKET NUMBER
o£. a.
DATE

(-29-L2

FOR OFFICE USE ONLY

VI. CAUSE OF ACTION

 

 
   

 

AKPLYING IFP MAG. JUDGE

RECEIPT # AMOUNT
